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 8                    UNITED STATES DISTRICT COURT FOR THE
 9
                           CENTRAL DISTRICT OF CALIFORNIA
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     ORLANDO GARCIA,                      Case No. 2:19-CV-10457-PSG-JC
12
              Plaintiff,
13

14       v.                               JUDGMENT GRANTING
15                                        DEFENDANT WALMART INC.’S
     WALMART INC., a Delaware             MOTION FOR SUMMARY
16   Corporation; and Does 1-10,          JUDGMENT
17
              Defendants.
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                                          Complaint Filed: December 11, 2019
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                JUDGMENT GRANTING MOTION FOR SUMMARY JUDGMENT
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